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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)            ‫ ܆‬Original      ‫ ܆‬Duplicate Original


                                   UNITED STATES DISTRICT COURT                                               
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         10/16/2020
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                                                Central District of California                                       mba
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     United States of America

                        v.
                                                                      Case No. 8:20-mj-00717-DUTY
     ISRAEL ARMANDO CABRERA RAMIREZ,
     also known as (“aka”) “Israel Armando Cabrera,”

                        Defendant(s)

                                CRIMINAL COMPLAINT BY TELEPHONE
                               OR OTHER RELIABLE ELECTRONIC MEANS

             I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of September 1, 2020 in the county of Orange in the Central District of California, the

defendant(s) violated:

               Code Section                                           Offense Description

               8 U.S.C. §§1326(a); (b)(1)                             Illegal Alien Found in the United
                                                                      States Following Deportation or
                                                                      Removal
             This criminal complaint is based on these facts:

             Please see attached affidavit.

             _ Continued on the attached sheet.
                                                                                                   /s/
                                                                                    Complainant’s signature

                                                                                MITCHELL A. GANGWISH
                                                                                 Deportation Officer, DHS
                                                                                        Printed name and title
     Attested to by the applicant in accordance with the requirements
                                                                 ents of Fed. R. Cri
                                                                                 Crim.
                                                                                   im.
                                                                                     m P. 4.11 by
                                                                                               b telep
                                                                                                  telephone.
                                                                                                      phone.

     Date:               October 16, 2020
                                                                                          Judge’s signature

     City and state: Santa Ana, California                                        Hon
                                                                                  Hon. JOHN DD. EARLY
                                                                                  U.S. Magistrate Judge
                                                                                        Printed name and title
cc




      AUSA: Greg Staples
           (74) 338-3535
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                           A F F I D A V I T



     I, Mitchell Gangwish, being duly sworn, do hereby depose

and say:

     1.    I am a Deportation Officer (“DO”) with the United

States Department of Homeland Security (“DHS”), Immigration and

Customs Enforcement (“ICE”).       I have been a DO with ICE,

formerly known as the Immigration and Naturalization Service

(“INS”), since May 2016.      I am currently assigned to the Los

Angeles Enforcement and Removal Operations Unit, Santa Ana

office.

     2.    This affidavit is made in support of a criminal

complaint and arrest warrant against ISRAEL ARMANDO CABRERA

RAMIREZ, also known as (“aka”) “Israel Armando Cabrera”

(“CABRERA”), charging a violation of Title 8, United States

Code, Section 1326(a), (b)(1) (Illegal Alien Found in the United

States Following Deportation or Removal).         The facts set forth

in this affidavit are based upon my personal observations, my

training and experience, and information obtained from other law

enforcement agents and witnesses.

     3.    On or about September 1, 2020, the ICE Pacific

Enforcement Response Center (“PERC”) received information that



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CABRERA had recently been encountered in Orange County,

California.    Arrest records revealed CABRERA was in the custody

of the Orange County Sheriff’s Department.         Upon review of the

information received, the PERC determined that CABRERA was

previously removed from the United States.         An Immigration

Detainer was issued against CABRERA.        On or about September 10,

2020, CABRERA was released from the custody of the Orange County

Sheriff’s Department.

     4.       On or about September 30, 2020, I obtained Alien File

No. A72-275-429(“A-File”), which was assigned and maintained for

the subject alien CABRERA.      An “A-File” is a file in which

immigration records are maintained for aliens admitted to or

found in the United States.      The A-File usually contains

photographs, fingerprints, court records of conviction, and

records relating to deportation or other actions by DHS (or INS)

with respect to the subject alien for whom the A-File is

maintained.

     5.       On or about September 30, 2020, I obtained and

reviewed a printout of the data from the California Criminal

Identification Information (“CII”) and the Federal Bureau of

Investigation (“FBI”) Identification Record for CABRERA, the

individual who is the subject of this affidavit.          I compared the



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data on these documents to that found in the INS Central Index

System (“CIS”) under the assigned A-File, which I believe is

CABRERA’s alien number.      I also compared the data from these

documents to the printout of the CII contained in the A-File.                I

found that the data from the CII contained in CABRERA’s A-File

contain the same date of birth that are found in the CIS, the

CII, and the FBI Identification Record that I obtained.            In

addition, the CII printout also reflects the convictions that

are described below.     Based on this review, I believe that

CABRERA is the same individual who incurred the convictions

described below and who was ordered deported and/or removed as

described in the A-File.

     6.    On or about September 30, 2020, I reviewed a booking

photograph from the Orange County Sheriff’s Department bearing

the name Israel Armando Cabrera Ramirez from his arrest on

August 31, 2020.    I conducted a photograph comparison of

CABRERA’s booking photograph to the photographs contained in the

immigration records under CABRERA’s identifying information.             It

appeared to me that CABRERA’s booking photograph and the

immigration record photographs under CABRERA’s identifying

information appear to resemble the same person.          Thus, I believe

that A-File (A72-275-429) and its contents correspond to



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CABRERA.

     7.    On or about September 30, 2020, I reviewed CABRERA’s

A-File (A72-275-429).     A review of CABRERA’s A-File revealed the

following information and documents:

           a.    A Record Of Deportable/Inadmissible Alien (Form

I-213), which indicated that Deportation Officer M. Washington

encountered CABRERA on or about August 19, 2017.

           b.    An Order of the Immigration Judge showing that

CABRERA was ordered removed from the United States to Mexico by

Nathan Aina, Immigration Judge, Los Angeles, California, on

February 15, 2018.

           c.    An executed Warrant of Removal/Deportation

indicating that CABRERA was officially removed and deported from

the United States to Mexico on August 21, 2018, at the San

Ysidro Port of Entry, San Ysidro, California.

           d.    An executed Notice to Alien Ordered

Removed/Departure Verification indicating that CABRERA was

officially removed and deported from the United States to Mexico

on or about August 25, 2018, at the Port of Entry San Ysidro,

California.

           e.    I know from my training and experience that a

Warrant of Removal/Deportation is executed each time a subject



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alien is removed and deported from the United States by ICE (and

its predecessor agency, INS) and usually contains the subject’s

photograph, signature, and/or fingerprint.         The executed Warrant

of Removal/Deportation and the Notice to Alien Ordered

Removed/Departure Verification in CABRERA’s A-File each contains

his photograph, signature, and fingerprint.

           f.     A record of conviction indicating that on or

about May 21, 2015, CABRERA was convicted of Receiving Stolen

Property, in violation of California Penal Code Section 496d(a)

and Street Terrorism, in violation of California Penal Code

Section 186.22(a), in the Superior Court of the State of

California, County of Orange, case number 15HF0227, for which

CABRERA received a sentence of 180 days of imprisonment.             On or

about March 24, 2017, CABRERA was found to be in violation of

probation and received a sentence of 90 days of imprisonment.

On or about August 16, 2017, CABRERA was found to be in

violation of probation and received a sentence of 90 days of

imprisonment.

     8.    On or about September 30, 2020, I reviewed the

printouts of ICE computer indices on CABRERA.          Based on my

training and experience, I know that the ICE computer indices

track and document each time an alien is deported from the

United States by ICE (or INS) or is granted permission to enter

or re-enter the United States.       The ICE computer indices

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confirmed that CABRERA had been removed and deported on the

dates indicated on the Warrants of Removal/Deportation found in

CABRERA’s A-File.    The ICE computer indices further indicated

that CABRERA had not applied for or obtained permission from the

Attorney General or his designated successor, the Secretary of

Homeland Security, to re-enter the United States legally since

CABRERA had last been deported.

     9.    Based on my review of CABRERA’s A-File, I determined

that his A-File does not contain any record of him ever applying

or receiving permission from, the Attorney General or his

designated successor, the Secretary of Homeland Security, to

legally re-enter the United States.        Based on my training and

experience, I know that such documentation is required to

re-enter the United States legally after deportation, and that

if such documentation existed, it would ordinarily be found in

CABRERA’s A-File.

     10.   Based on my review of the contents of A-File A72-275-

429, in particular the Warrant of Removal/Deportation and the

Notice to Alien Ordered Removed/Departure Verification

indicating that CABRERA had been removed and deported to Mexico

on two occasions, and my training and experience, I believe that

CABRERA is an alien, that is, a citizen of Mexico who illegally

re-entered the United States without permission.

     11.   Based upon the information indicated above, including

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the Order of Removal, Warrant of Removal/Deportation, Notice to

Alien Ordered Removed/Departure Verification, copies of the

conviction documents, a booking photograph taken in the United

States after the date of CABRERA’s most recent removal, and the

absence of an application to re-enter the United States, I have

probable cause to believe that ISRAEL ARMANDO CABRERA RAMIREZ is

in violation of Title 8, United States Code, Section 1326(a),

(b)(1) (Illegal Alien Found in the United States Following

Deportation or Removal).



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 16
                  __th day of
October, 2020.
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       ABLE JOHN D. EARLY
HONORABLE
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    TED STATES MAGISTRATE JUDGE
UNITED                    JU
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